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                                                                CIVIL COVER SHEET
JS-44 (Rev. 11/2020 DC)
 I. (a) PLAINTIFFS                                                                DEFENDANTS
 National PFAS Contamination Coalition, Sierra Club,                             U.S. Environmental Protection Agency and Michael Regan, in
 Union of Concerned Scientists                                                   his official capacity as Administrator of U.S. Environmental
                                                                                 Protection Agency

                                                          88888
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                         ATTORNEYS (IF KNOWN)
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 II. BASIS OF JURISDICTION                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                    PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o 1 U.S. Government         o 3 Federal Question                                           PTF    DFT
                                                                                                  o 1 o 1 Incorporated or Principal Place o 4 o 4
                                                                                                                                                              PTF           DFT

         Plaintiff                  (U.S. Government Not a Party)    Citizen of this State
                                                                                                                       of Business in This State
 o 2 U.S. Government         o 4 Diversity                           Citizen of Another State     o 2 o 2 Incorporated and Principal Place o 5 o 5
         Defendant                   (Indicate Citizenship of
                                                                                                          of Business in Another State
                                     Parties in item III)            Citizen or Subject of a
                                                                     Foreign Country
                                                                                                  o 3 o 3 Foreign Nation                   o6 o6
                                              IV. CASE ASSIGNMENT AND NATURE OF SUIT
              (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o A. Antitrust             o B. Personal Injury/                         o C. Administrative Agency                               o D. Temporary Restraining
                                     Malpractice                                     Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                          Injunction
                                310 Airplane                                    151 Medicare Act
                                315 Airplane Product Liability                                                                     Any nature of suit from any category
                                320 Assault, Libel & Slander               Social Security
                                                                                                                                   may be selected for this category of
                                                                                861 HIA (1395ff)
                                330 Federal Employers Liability                                                                    case assignment.
                                                                                862 Black Lung (923)
                                340 Marine
                                                                                863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                                864 SSID Title XVI
                                350 Motor Vehicle
                                                                                865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                           Other Statutes
                                360 Other Personal Injury
                                                                                891 Agricultural Acts
                                362 Medical Malpractice
                                                                                893 Environmental Matters
                                365 Product Liability
                                                                                890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                    Administrative Agency is
                                    Personal Injury Product Liability
                                                                                    Involved)
                                368 Asbestos Product Liability


 o E. General Civil (Other)                                     OR              o F. Pro Se General Civil
 Real Property                           Bankruptcy                                   Federal Tax Suits
      210 Land Condemnation                  422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                     465 Other Immigration Actions
      220 Foreclosure                        423 Withdrawal 28 USC 157                         defendant)                                470 Racketeer Influenced
      230 Rent, Lease & Ejectment                                                         871 IRS-Third Party 26 USC                         & Corrupt Organization
      240 Torts to Land                  Prisoner Petitions                                    7609
                                                                                                                                         480 Consumer Credit
      245 Tort Product Liability              535 Death Penalty
                                                                                      Forfeiture/Penalty                                 485 Telephone Consumer
      290 All Other Real Property             540 Mandamus & Other
                                                                                          625 Drug Related Seizure of                        Protection Act (TCP$)
                                              550 Civil Rights
                                                                                               Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                            555 Prison Conditions
                                                                                          690 Other                                      850 Securities/Commodities/
      370 Other Fraud                         560 Civil Detainee – Conditions
                                                                                                                                             Exchange
      371 Truth in Lending                        of Confinement
                                                                                      Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                          375 False Claims Act                           899 Administrative Procedure
          Damage                         Property Rights
                                                                                          376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage                    820 Copyrights
                                                                                              3729(a))                                       Agency Decision
          Product Liability                  830 Patent
                                                                                          400 State Reapportionment                      950 Constitutionality of State
                                             835 Patent – Abbreviated New
                                                                                          430 Banks & Banking                                Statutes
                                                 Drug Application
                                                                                          450 Commerce/ICC Rates/etc                     890 Other Statutory Actions
                                             840 Trademark
                                                                                          460 Deportation                                    (if not administrative agency
                                             880 Defend Trade Secrets Act of
                                                                                          462 Naturalization                                 review or Privacy Act)
                                                 2016 (DTSA)
                                                                                               Application
                         Case 1:22-cv-00132-JDB Document 1-3 Filed 01/20/22 Page 2 of 2
 o G. Habeas Corpus/                           o H. Employment                                o I. FOIA/Privacy Act                        o J. Student Loan
                2255                                 Discrimination
       530 Habeas Corpus – General                   442 Civil Rights – Employment                  895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                        (criteria: race, gender/sex,               890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                         national origin,                               (if Privacy Act)                             (excluding veterans)
           Detainee                                      discrimination, disability, age,
                                                         religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o K. Labor/ERISA                              o L. Other Civil Rights                        o M. Contract                                o N. Three-Judge
                (non-employment)                            (non-employment)                                                                     Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                  441 Voting (if not Voting Rights               120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                         Act)                                       130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                         443 Housing/Accommodations                     140 Negotiable Instrument
       751 Family and Medical                        440 Other Civil Rights                         150 Recovery of Overpayment
           Leave Act                                 445 Americans w/Disabilities –                     & Enforcement of
       790 Other Labor Litigation                        Employment                                     Judgment
       791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                 153 Recovery of Overpayment
                                                         Other                                          of Veteran’s Benefits
                                                     448 Education                                  160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened        from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Action under APA, challenging 2 EPA rules adopted under EPCRA, 42 USC § 11001 et seq., because they violate 15 U.S.C. § 8921, 42 U.S.C. § 11023, and 5 U.S.C. § 706


 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23                JURY DEMAND:                                YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO       ✘               If yes, please complete related case form


             01/20/2022
 DATE: _________________________                                                                    /s/ Eve C. Gartner
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                       of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                       under Section II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                       represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                       nature of suit found under the category of the case.

           VI.         CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                       the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
